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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION


    THE BOARD OF TRUSTEES OF THE
    UNIVERSITY OF ILLINOIS,
                                                       Case No. 21-cv-06546
              Plaintiff,
    v.
                                                        Hon. John R. Blakey
    VINTAGE BRAND, LLC,
                                                        JURY TRIAL DEMANDED
                       Defendant.

           PLAINTIFF’S RESPONSE TO VINTAGE BRAND, LLC’S UNOPPOSED
                 NOTICE OF SUPPLEMENTAL AUTORITY [DKT. 63]

         As stated in the Notice of Supplemental Authority [Dkt. 63], the University does not

oppose Vintage Brand’s request that the Court take notice of the recent opinion in The

Pennsylvania State University v. Vintage Brand, LLC. Nonetheless, the University responds to

correct Vintage Brand’s assertion that, in the opinion, “Judge Brann includes a thorough discussion

of the affirmative defense of aesthetic functionality” Dkt. 63 at 1.

         The recent Penn State opinion does not use the phrase “aesthetic functionality” much less

discuss it as an affirmative defense. Instead, the opinion relates to Vintage Brand’s counterclaim

that certain of Penn State’s marks “should be canceled because they are ornamental and fail to

function as trademarks.” Dkt. 63-1 at 1.

         In the case at bar, Vintage Brand raises “merely ornamental/failure to function” both as an

affirmative defense and as the basis of a number of counterclaims. See Dkt. 53 at 43 (Fourth

Affirmative Defense) and Counterclaims IV, VI, VIII, IX, and X. This affirmative defense is not

one of the affirmative defenses subject to the University’s Second Motion to Strike. See generally

Dkt. 55.




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         Vintage Brand has a separate defense based on the doctrine of aesthetic functionality. See

Dkt. 53 at 42 (Third Affirmative Defenses). The aesthetic functionality defense is subject to the

University’s Second Motion to Strike. See Dkt. 55 at 4-6.



Dated: July 22, 2022
                                                      Respectfully submitted,

                                                      THE BOARD OF TRUSTEES FOR THE
                                                      UNIVERSITY OF ILLINOIS

                                                      By: /s/ Jeffrey J. Catalano      .
                                                        One of Its Attorneys

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                                CERTIFICATE OF SERVICE

        I hereby certify that on this 22nd day of July, 2022, that the above and foregoing was filed
electronically with the Clerk of the Court using the CM/ECF system, which sent notification to all
ECF registrants that are counsel of record for this matter.


                                                 By: /s/ Jeffrey J. Catalano




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